                              Case 18-31706-lkg            Doc 32        Filed 07/28/20        Page 1 of 9


                                              UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF ILLINOIS

     In re:                                                          )          Case No.: 18-31706
                                                                     )             Original Chapter 13 Plan
     Gary M. Lager and Constance S. Lager                            )             Amended Plan Number __1___
                                                                     )          (Changes must be underlined)
                          Debtor(s).                                 )             Limited Service Applicable

                                       CHAPTER 13 PLAN AND NOTICE OF TIME TO OBJECT
     CHAPTER 13 PROCEDURES MANUAL The provisions of the Court’s Chapter 13 Procedures Manual are incorporated
     herein by reference and made part of this Plan. This manual is available at www.ilsb.uscourts.gov.

     YOUR RIGHTS WILL BE AFFECTED You should read this plan carefully and discuss it with your attorney. Anyone
     opposing any provision of this Plan as set forth below must file a timely written objection. This Plan may be confirmed
     without further notice unless written objection is filed and served within 21 days after the conclusion of the 11 U.S.C. §
     341(a) Meeting of Creditors. Objections to an amended Plan must be filed and served within 21 days after the date of filing
     of the amended Plan.

     THIS PLAN DOES NOT ALLOW CLAIMS A Creditor must file a timely Proof of Claim to receive distribution as set
     forth in this Plan. Even if the Plan provides for payment, no payment will be made unless a Proof of Claim is timely filed.
     If the debtor is not represented by counsel, any party filing a proof of claim must serve the debtor with notice that the claim
     has been filed and with a copy of the claim. Any pleadings that are filed in relation to the claim also must be served on the
     debtor.

     IF A TIMELY CLAIM IS NOT FILED, AS PERMITTED BY FED. R. BANKR. P. 3002(c), 3004 OR FURTHER
     ORDER OF THIS COURT, ALL AMOUNTS RECEIVED BY THE TRUSTEE FOR THE UNFILED CLAIM
     WILL BE DISBURSED TO OTHER CREDITORS PURSUANT TO THE ORDER OF DISTRIBUTION.

     If you have a secured claim, this Plan may void or modify your lien if you do not object to the Plan.

     The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether or
     not the plan includes any or all of the following items. If an item is checked as “Not Included” or if both boxes are
     checked, the provision will be void if set out later in the plan.


     I.       A limit on the amount of a secured claim, set out in Sections 3E, 3F, or 4B,          Included          Not Included
              which may result in a partial payment or no payment at all to the secured creditor

     II.      Avoidance of a judicial lien or nonpossessory, non-purchase money security            Included          Not Included
              interest, set out in Section 9

     III.     Nonstandard provisions set out in Section 10.                                         Included          Not Included


1.   PAYMENTS
     The Debtor submits to the Standing Chapter 13 Trustee all projected disposable income to be received within the applicable
     commitment period of the Plan. The payment schedule is as follows:

                Start Month #                   End Month #                  Monthly Payment                       Total
      1                                  23                              $1,850.00                    $42,550.00


     Wage Order Required:              Yes     No         ePay        TFS (Must list employer information)
     The Debtor from whose check the payment is deducted:                Constance Lager
                                                                                                                                  1
                            Case 18-31706-lkg            Doc 32        Filed 07/28/20        Page 2 of 9


     Employer’s name, address, city, state, phone:           Carlyle Healthcare, Attn: Payroll Dept., 501 Clinton St., Carlyle, IL
     62231


                                            IMPORTANT PAYMENT INFORMATION

       NOTE: Plan payments to the Trustee must commence within 30 days of the filing of the petition. The Debtor must
       make direct payments to the Trustee by money order or cashier’s check until the employer deduction begins. Include
       your name and case number on your money order or cashier’s check. Contact the Trustee for the payment mailing
       address. In addition, debtors may need to pay their tax refunds, personal injury proceeds and other such funds to the
       trustee.

     ORDER OF DISTRIBUTION
     The following order of priority shall be utilized with respect to all payments received under the Plan terms:
          1. The Trustee's fees for each receipt, the percentage of which is fixed by the U.S. Trustee;
          2. Any unpaid portion of the filing fee;
          3. Notice fees equal to $.50 per page of the Plan, multiplied by the number of creditors listed on the debtor’s
               mailing matrix;
          4. Ongoing mortgage payments on real estate;
          5. Allowed administrative expenses;
          6. Attorney’s fees and other secured creditors as set forth in the Chapter 13 Procedures Manual;
          7. Priority creditors as set forth in the Plan;
          8. Any special class of unsecured creditors as set forth in the Plan; and
          9. General unsecured creditors.
2.   ADMINISTRATIVE EXPENSES

                                   Administrative Creditor                                       Estimated Amount of Claim


     ATTORNEY’S FEES
         Attorney name:         RONALD A. BUCH
             Flat fee through Plan $ 4,470.00      OR
             The Debtor’s counsel elects to be paid on an hourly basis and will file a fee application(s) for approval of fees. No
         fees shall be disbursed until a fee application is approved by the Court. However, the Trustee shall reserve a total of
         $4,500.00 for payment toward such application, pursuant to the Order of Distribution and the Chapter 13 Procedures
         Manual.
3.   REAL ESTATE – CURING DEFAULTS AND MAINTAINING PAYMENTS
     Post-petition payments shall be made by the Trustee if (i) a pre-petition default exists; (ii) a post-petition, pre-confirmation
     default occurs; or (iii) a post-confirmation default arises that cannot be cured by the Debtor within six months. Otherwise,
     post-petition payments may be made directly by the Debtor to the creditor. Where the Trustee is disbursing the ongoing
     payments, the first mortgage payment to be disbursed will be that which becomes due in the second month after the month
     in which the petition is filed. For example, if the petition was filed in January, the first mortgage payment is due in March.
     In this situation, a mortgage holder should file a “pre-petition” claim that includes both the pre-petition arrearage and all
     post-petition contractual payments not disbursed by the Trustee as set forth above. Similarly, a Debtor must include the
     amount of any such payment(s) in the pre-petition arrearage calculation. (See the Chapter 13 Procedures Manual for
     examples and further instruction.)

     For ongoing payments brought in due to a post-petition default, payments by the Trustee are to begin on the first due date
     after the month in which the amended or modified Plan is filed, or as otherwise ordered by the Court. All payments
     received from the Trustee must be credited by the creditor as the Plan directs. Pursuant to 11 U.S.C. § 524(i), ongoing
     post-petition mortgage payments tendered under the Plan by either the Trustee or the Debtor shall be credited by the holder

                                                                                                                                     2
                      Case 18-31706-lkg            Doc 32        Filed 07/28/20        Page 3 of 9


and/or servicer of said claim only to such payments and may not be used for any other purpose without prior approval of
the Court. Pursuant to 11 U.S.C. § 524(i), payments for pre-petition mortgage arrearages tendered under the Plan by the
Trustee shall be credited by the holder and/or servicer of said claim only to such arrearages and may not be used for any
other purpose without prior Court approval

The Chapter 13 Procedures Manual sets forth the terms concerning notice of payment changes; notice of fees, expenses and
charges; form and content of said notice; determination of fees, expenses or charges; notice of final cure payment; response
to notice of final cure payment; determination of final cure and payment; and the consequences of the failure to notify. If a
conflict arises between the terms set forth in the Chapter 13 Procedures Manual and any bankruptcy rule, the federal and
local bankruptcy rule(s) shall supersede the Manual.
A)       Payment of ongoing post-petition mortgage payments by the Debtor is as follows:
                                                                                Estimated
                             Lien                                                                 Payment          Payment End
         Creditor                             Property Address                  Monthly
                             No.                                                                  Start Date          Date
                                                                                Payment


B)       Payment of ongoing post-petition mortgage payments by the Trustee is as follows:

                                                                             Estimated       Payment
                             Lien
         Creditor                             Property Address               Monthly           Start      Payment End Date
                             No.
                                                                             Payment           Date
                                                                                                         **Default Judgment
                                                                                                         7/3/2019-mortgage
                                     691 Beckemeyer Ave.
Ditech                      1                                              **               1/2019       declared to be
                                     Beckemeyer, IL 62219
                                                                                                         completely
                                                                                                         unsecured



The estimated monthly payment amount referenced in Part 3A and 3B above may change based upon Proof(s) of Claim
filed and/or subsequent Notices of Mortgage Payment Change.


C)       Payment of pre-petition arrearages; first post-petition (“limbo”) payment; and/or post-petition arrearages,
arising from a default in mortgage payments that were being made directly by the Debtor to the creditor, are as
follows:
                                                                                                      Type of Payment (i.e.
                             Lien
         Creditor                              Property Address                 Estimated Claim        Limbo, Pre or Post-
                             No.
                                                                                                            Petition)
                                     691 Beckemeyer Ave.
Ditech                      1                                                $755.29                Limbo
                                     Beckemeyer, IL 62219
                                     691 Beckemeyer Ave.
Ditech                      1                                                $12,000.00             Pre-Petition
                                     Beckemeyer, IL 62219
D)       Real Estate Secured Claims which will be paid in full:
                             Lien
         Creditor                                     Property Address                      Estimated Claim        Interest Rate
                             No.


THE FOLLOWING PLAN PROVISION WILL BE EFFECTIVE ONLY IF THERE IS A CHECK IN THE BOX
TITLED “INCLUDED” IN SECTION I ABOVE.

E) Residential Real Estate Secured Claims to which 11 U.S.C. § 506 Valuation is Applicable (“Lien Stripping”):

                                                                                                                              3
                           Case 18-31706-lkg           Doc 32          Filed 07/28/20         Page 4 of 9


   The Debtor will file a separate adversary proceeding to avoid the following wholly unsecured mortgages. Claims listed in
   this subsection are debts secured by real estate on the Debtor’s primary residence. These claims are being modified
   pursuant to 11 U.S.C. § 1322(b)(2). The real estate mortgage in question is not protected by the anti-modification provision
   of Section 1322(b)(2) either because the value of the real estate minus any priority liens indicates no value to support a
   secured claim under 11 U.S.C. § 506(a) or that the loan has matured pursuant to 11 U.S.C. § 1322(c). (The appropriate
   section is indicated below.) That pursuant to 11 U.S.C. § 1325(a)(5)(B) the creditor will continue to retain the lien on the
   residential real estate until the Debtors receive a discharge pursuant to Section 1328 of the Bankruptcy Code. Upon the
   entry of the order of discharge the lien is voided. These claims will be paid either the value of the secured property as stated
   below or the secured amount of that claim as listed on the Proof of Claim, whichever is less, with interest as provided
   below. Any portion of a claim that exceeds the value of the secured property will be treated as an unsecured claim without
   the necessity of an objection.

     Creditor          Property          Value of Real                                                                Code Section
                                                                                                    Estimated
                       Address            Estate After          Estimated          Interest                           Relied Upon
                                                                                                    Monthly
                                       Priority Liens are        Claim              Rate                             [1322(b)(2) or
                                                                                                    Payment
                                           Deducted                                                                     1322(c)]


   THE FOLLOWING PLAN PROVISION WILL BE EFFECTIVE ONLY IF THERE IS A CHECK IN THE BOX
   TITLED “INCLUDED” IN SECTION I ABOVE.
   F) Real Estate Secured Claims to which 11 U.S.C. § 506 Valuation is Applicable (“Cram Down Claims”):

   Claims listed in this subsection are debts secured by real estate that is not the Debtor’s primary residence. These claims
   will be paid either the value of the secured property as stated below or the secured amount of that claim as listed on the
   Proof of Claim, whichever is less, with interest as provided below. Any portion of a claim that exceeds the value of the
   secured property will be treated as an unsecured claim without the necessity of an objection.
                                                       Value (after                                                 Estimated
         Creditor             Property Address         deducting all      Estimated Claim       Interest Rate       Monthly
                                                       senior liens)                                                Payment


   G) Real Estate Property Tax Claims shall be paid as follows: To the extent that taxes are due or will become due, they
   will be paid directly by the Debtor or pursuant to any applicable note and mortgage on the property.
4. SECURED CLAIMS AND VALUATION OF COLLATERAL UNDER 11 U.S.C. SECTION 506
   A) Secured Claims to which 11 U.S.C. § 506 Valuation is NOT Applicable (“910 Claims”):
   Claims listed in this subsection are debts secured by a purchase-money security interest in a personal motor vehicle
   acquired for the personal use of the debtor, incurred within the 910 days preceding the date of the filing of the bankruptcy
   or debts secured by a purchase-money security interest in "any other thing of value” incurred within one year preceding the
   date of the filing of the bankruptcy. These claims will be paid in full with interest as provided below.
                                                                              Estimated           Interest         Estimated
                Creditor                          Collateral
                                                                                 Claim             Rate         Monthly Payment
   Consumer Portfolio Services        2013 Ford C-Max                       $15,241.61          5.5%            $282.22


   THE FOLLOWING PLAN PROVISION WILL BE EFFECTIVE ONLY IF THERE IS A CHECK IN THE BOX
   TITLED “INCLUDED” IN SECTION I ABOVE.
   B) Secured Claims to which 11 U.S.C. § 506 Valuation is Applicable (“Cram Down Claims”):
   Claims listed in this subsection are debts secured by personal property not described in the immediately preceding
   paragraph of this Plan. These claims will be paid either the value of the secured property as stated below or the secured
   amount of that claim as listed on the Proof of Claim, whichever is less, with interest as provided below. Any portion of a
   claim that exceeds the value of the secured property will be treated as an unsecured claim without the necessity of an

                                                                                                                                  4
                             Case 18-31706-lkg           Doc 32       Filed 07/28/20         Page 5 of 9


     objection.
     For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim listed in a
     proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below.

                                                                                                                     Estimated
           Creditor                 Collateral                Value       Estimated Claim      Interest Rate         Monthly
                                                                                                                     Payment
     Capital One Auto
                              2007 Ford Edge            $7,025.00         $6,495.62           5.5%                $130.10
     Finance


     C) Surrender of Property:
     This section allows for the surrender of collateral. The Debtor surrenders any and all right, title and interest in the
     following collateral. If the creditor believes that it may be entitled to a deficiency claim under applicable law, then the
     secured creditor must file its secured claim before the non-governmental claims bar date. Within 90 days following the
     claims bar date, the secured creditor shall file an amended Proof of Claim indicating the unsecured deficiency
     balance (if any), unless an extension is approved by the Court. Any objection to a timely filed deficiency claim shall be
     filed within 45 days of the date the deficiency claim was filed, or the same is deemed allowed. Absent leave of Court,
     deficiency claims filed outside of this 90-day period (or any extension granted by the Court) are deemed disallowed without
     action by any party. Upon entry of the Order lifting the automatic stay, the Debtor must reasonably cooperate with the
     creditor in either making the collateral available for pickup or in supplying information of the collateral’s last known
     location.
         The debtor(s) elect to surrender to each creditor listed below the collateral that secured the creditor’s claim. The
     debtor(s) request that upon confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the
     collateral only and that the stay under § 1301 be terminated in all respects.
                                                                                             Estimated Monies Previously
                       Creditor                         Collateral Surrendered
                                                                                                  Paid by the Trustee


5.   SEPARATELY CLASSIFIED CLAIMS
                                                                  Secured/       Estimated        Interest
              Creditor                     Collateral                                                                Paid By
                                                                 Unsecured        Claim            Rate



6.   EXECUTORY CONTRACTS AND UNEXPIRED LEASES
     All executory contracts and unexpired leases are rejected, except the following which are assumed:
         A) Payment of executory contracts and unexpired leases directly by the Debtor is as follows:

                  Creditor                       Collateral               Monthly Payment          # of Payments Remaining


         B) Payment of arrearages by the Trustee is as follows:
                                                                                                                     Estimated
                                                                                       Estimated       Interest
            Creditor              Collateral                    Address                                              Monthly
                                                                                        Claim           Rate
                                                                                                                     Payment



     Since the claims in Part 3E, 3F, 4A, 4B and 6B are based on the allowed claim amount, the estimated monthly payment
     in those sections is provided by the Debtor for reference only.

                                                                                                                                 5
                               Case 18-31706-lkg         Doc 32       Filed 07/28/20         Page 6 of 9



7.       PRIORITY CLAIMS
        A) Domestic Support Obligations:

     The Debtor is required to pay all post-petition domestic support obligations directly to the holder of the claim and not
     through the Chapter 13 Plan.

               1.   Name of Debtor owing a domestic support obligation:
                                                                                                                     Is DSO
                DSO Claimant Name                  Address, City, State, and Zip         Estimated Arrears         Current? [Y
                                                                                                                      or N]



         B)    Domestic Support Obligations Assigned to or Owed to a Governmental Unit Under 11 U.S.C. §
               507(a)(1)(B):
                                                                                      Estimated Amount to be      State Agency
                 Government Entity                     Estimated Arrearage
                                                                                               Paid               Case Number


        C)     Secured Income Tax Claims and Priority Claims Under 11 U.S.C. § 507:
     All allowed secured tax obligations shall be paid in full by the Trustee as set forth herein. All allowed priority claims shall
     be paid in full by the Trustee as set forth herein, unless the creditor agrees otherwise:
                                                          Priority OR Secured               Estimated Claim        Interest Rate
                      Creditor
                                                     (Must list the classification)             Amount                (If Any)



8.   LONG-TERM DEBTS PAID DIRECTLY BY THE DEBTOR OR CO-DEBTOR TO THE CREDITOR

                                                                                                                     Number of
                                                            Is there a Co-           Estimated        Monthly
              Creditor                Collateral                                                                     Payments
                                                           Debtor? [Y or N]        Claim Amount       Payment
                                                                                                                     Remaining



     THE FOLLOWING PLAN PROVISION WILL BE EFFECTIVE ONLY IF THERE IS A CHECK IN THE BOX
     TITLED “INCLUDED” IN SECTION II ABOVE.
9.   AVOIDANCE OF LIENS

     The Debtor will file a separate motion to avoid the following non-purchase money security interests, judicial liens, or other
     liens that impair exemptions. Until such time as a motion is filed, the Trustee shall make no disbursements thereon. Upon
     entry of an order avoiding the lien, the Trustee shall treat said claims as unsecured and pay them pursuant to paragraph 11.
                                                                                                       Amount of Lien to be
                         Creditor                                  Collateral
                                                                                                           Avoided


     THE FOLLOWING PLAN PROVISION WILL BE EFFECTIVE ONLY IF THERE IS A CHECK IN THE BOX
     TITLED “INCLUDED” IN SECTION III ABOVE.
10. NONSTANDARD PLAN PROVISIONS


                                                                                                                                  6
                           Case 18-31706-lkg            Doc 32       Filed 07/28/20         Page 7 of 9


    Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision
    not otherwise included in the Local Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are
    void.




11. UNSECURED CLAIMS
    The minimum amount the Debtor must pay to all classes of allowed non-priority unsecured claims is $ 14,100.00 (Liq) or
       100%.

12. POST PETITION CLAIMS
    Post-petition claims shall not be paid by the Trustee unless the Debtor amends the Plan to specifically address such claims.
    Absent such an amendment, the Trustee shall not disburse any monies on said claims and these debts will not be
    discharged.

13. LIEN RETENTION
    With respect to each allowed secured claim to be paid in full through the Plan, other than mortgage or long-term debts, the
    holder of such claim shall retain the lien securing its claim until the earlier of (i) the payment of the underlying debt
    determined under non-bankruptcy law; or (ii) entry of the discharge order under 11 U.S.C. § 1328.

14. PROOF OF LIEN PERFECTION
    Any individual and/or entity filing a secured claim must provide the Chapter 13 Trustee, the Debtor, and Debtor’s counsel
    with proof of lien perfection at the time its claim is filed and shall attach such documentation to its Proof of Claim pursuant
    to Bankruptcy Rule 3001.

15. VESTING OF PROPERTY OF THE ESTATE
    Property of the estate shall revest in the Debtor upon confirmation of the Debtor’s Plan, subject to the rights, if any, of the
    Trustee to assert a claim to additional property of the estate acquired by Debtor post-petition pursuant to 11 U.S.C. § 1306.

16. PAYMENT NOTICES
    Creditors in Section 3 of this Plan (whose rights are not being modified) and in Section 6 of this Plan (Assumed Executory
    Contracts/Unexpired Leases) may continue to mail customary notices or coupons to the Debtor or Trustee notwithstanding
    the automatic stay.

17. OBJECTIONS TO CLAIMS
    Absent leave of Court, any objection to a timely filed general unsecured claim shall be filed within 45 days following the
    expiration of the claims bar date for that claim. Objections to secured and/or amended claims shall be filed within 45 days
    from the applicable claims bar date or within forty-five 45 days from the date of filing of the claim, whichever is later.

18. STAY RELIEF
    Notwithstanding any provision contained herein to the contrary, distribution to a secured creditor(s) who obtains relief from
    the automatic stay will terminate immediately upon entry of an Order lifting or terminating the stay, except to the extent
    that an unsecured deficiency claim is subsequently filed and allowed. Absent an Order of the Court, relief from the
    automatic stay shall also result in the Trustee ceasing distribution to all junior lien holders.

19. DEBTOR REFUNDS
    Upon written request of the Debtor or Debtor(s)’ counsel, the Trustee is authorized to refund to the Debtor, without Court
    approval, any erroneous overpayment of regular monthly payments received during the term of the Plan that have not been
    previously disbursed.

20. PLAN NOT ALTERED FROM LOCAL FORM
    By signing this Plan below, the Debtor and the Debtor’s counsel certify that the Plan is the local form authorized by the
    Court and contains no non-standard provisions other than those in Paragraph 10.
                                                                                                                                 7
                      Case 18-31706-lkg             Doc 32       Filed 07/28/20         Page 8 of 9




21. REASON(S) FOR AMENDMENT(S)
Set forth a brief, concise statement of the reason(s) for the amendment(s). In addition, if there is a substantial change to
the proposed Plan payments, or if the Trustee so requests, file an amended Schedule I & J.
This plan is being amended for completion, to correct claim amounts per the proof of claims filed,




Signatures
/s/ Ronald A. Buch                                                        Date: 7/23/2020
Signature of Attorney for Debtor(s)

/s/ Gary M. Lager                                                         Date: 7/28/2020

/s/ Constance S. Lager                                                    Date: 7/28/2020
Signature(s) of Debtor(s) (required if not
represented by an attorney, otherwise optional)




                                                                                                                               8
                    Case 18-31706-lkg       Doc 32      Filed 07/28/20    Page 9 of 9


                                    CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the foregoing Amended Plan was
served upon all secured creditors & all creditors who filed claims before claims bar date in this case via
US Mail on July 28, 2020, unless served via electronically.

Gary & Constance Lager              Consumer Portfolio Services, Inc     Consumer Portfolio Services, Inc
691 E Beckemeyer Ave                Attn: Bankruptcy Dept.               Attn: Bankruptcy Dept.
Beckemeyer, IL 62219                PO Box 57071                         PO Box 57071
                                    Irvine, CA 92619-7071                Irvine, CA 92619-7071
SFC Central Bankruptcy              Capital One Auto Finance,            World Finance Corporation
P.O. Box 1893                       a division of Capital One, NA        Attn: Bankruptcy Processing Center
Spartanburg, SC 29304               4515 N Santa Fe Ave, Dept APS        PO Box 6429
                                    Oklahoma City, OK 73118              Greenville, SC 29606
Apria Healthcare LLC                Clinton County Rural Health
Attn: Legal Department              9401 Holy Cross Ln
26220 Enterprise Court              Breese, IL 62230-3510
Lake Forest, CA 92630

Served Electronically:
United States Trustee
US Bankruptcy Court
Russell C. Simon, Chapter 13 Trustee

/s/ Mary Hicks




                                                                                                              9
